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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

In re:

PONDEROSA-STATE ENERGY, LLC                                    Case No. 19-13011(___)

         Debtor.                                               Chapter 11
-------------------------------------------------------x

                          DECLARATION OF RICHARD SANDS
                   UNDER LOCAL RULE 1007-2 AND LOCAL RULE 9077-1
                    IN SUPPORT OF CERTAIN “FIRST DAY” MOTIONS

         I, RICHARD SANDS, declare pursuant to 28 U.S.C. § 1746 as follows:1

         1.       On September 18, 2019 (the “Petition Date”), Ponderosa-State Energy, LLC, the

above-captioned debtor (the “Debtor”), filed a voluntary petition for relief under chapter 11, title

11, United States Code (the “Bankruptcy Code”) in this Court.

         2.       I am the manager of the Debtor. I have been the manager of the Debtor since it was

organized on December 16, 2016. As the Manager, I make all major business decisions on behalf

of the Debtor.2

         3.       My wife and I are the only members of the Debtor’s sole member, RNP, LLC.

         4.       The Debtor is an oil and gas exploration and production company. The Debtor’s

principal asset is an oil and gas lease with the State of Texas (the “Amended State Lease”).3

         5.       The Debtor is a Delaware limited liability company that was organized on

December 16, 2016 and commenced operations on January 1, 2017.


1
         This affidavit addresses the information requests set forth in Local Rule 1007-2. To the extent there is no
         information responsive to a particular sub-part of Local Rule 1007-2, then there is either no responsive
         information or the particular subsection is not applicable.
2
         This paragraph responds to the information requested in Local Rule 1007-2(a)(12).
3
         This responds to the information requested in Local Bankruptcy Rule 1007-2(a)(10).
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           6.       The Debtor’s management team, mailing address, and books and records are

located at 745 Fifth Avenue, Suite 537, New York, New York 10151.4

Reason for Bankruptcy Filing5

           7.       As set forth below in greater detail, the Debtor commenced this chapter 11 case to

force a resolution of a dispute involving the Amended State Lease.                         Because of this ongoing

dispute, a substantial portion of the Debtor’s revenue are being placed in disputed reserve accounts.

Reimbursements from these disputed reserve accounts have been insufficient and untimely to

continue operations of Company’s properties. This ongoing dispute creates uncertainty with

respect to the Debtor’s interest in the Amended State Lease, as such the Debtor is unable to attract

sufficient capital to invest in capital expenses and crucial workovers to maintain current

production. As a result, the Debtor has only seven of its 65 wells producing.                       When a well falls

into disrepair, the Debtor is unable to get funds from the disputed reserve accounts to restore

production. The Debtor intends to borrow money as a debtor-in-possession and use some of the

proceeds to increase the number of producing wells which in turn will increase its revenue and

profits.

           8.       I believe if the dispute involving the Amended State Lease is resolved, the Debtor

would be able to attract more capital investment in workovers and further increase the number of

producing wells.          I believe that resolving the dispute involving the Amended State Lease will

substantially enhance the value of the Debtor’s property and its ability to repay its liabilities in

full.   In particular, if the dispute is resolved, the funds generated from the Debtor’s properties




4
           This responds to the information requested in Local Bankruptcy Rule 1007-2(a)(9), (10).
5
           This section responds to a portion of Local Rule 1007-2(a)(1) that states that the affidavit must set forth
           “concise statement of the circumstances leading to the debtor’s filing under chapter 11 [.]”

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could be used to efficiently maintain and grow the production of the leases thereby increasing the

Debtor’s ability to repay outstanding liabilities.

       9.       The Debtor is caught in the middle of a dispute between the TX Plaintiffs and the

State of Texas as Lessor. Over four years have elapsed and the State Court is still adjudicating the

issue of potential sovereign immunity of the State of Texas not the merits of the claim to title. The

resolution of that dispute has no end in sight and has crippled the Debtor’s ability during this time

to operate its properties through disputed title claims and suspension of proceeds from operations.

If the merits of the case could be heard then the Debtor’s title with the State of Texas as Lessor

would have, in my opinion, been validated and the Debtor’s ability to service its obligations

restored.

       10.      If the dispute is resolved, then the Debtor’s properties would likely have substantial

value exceeding its outstanding liabilities. The suspension of net proceeds has impeded the

Debtor’s ability to operate the properties and therefore has led to the decline in the value of the

properties. I believe that this chapter 11 process will give the Debtor a path to resume operations

uninterrupted and restore the value of its property.

Nature of the Debtor’s Business6

       11.      As noted above, the Debtor is an oil and gas exploration and production company.

       12.      Ponderosa TX Operating LLC (“Ponderosa TX Operating”), an affiliate of the

Debtor, is the operator of record for the Debtor’s oil and gas properties. Ponderosa TX Operating

also provides managerial, technical, professional and administrative services to the Debtor.




6
       This section responds to a portion of Local Rule 1007-2(a)(1) that states that the affidavit must set forth
       “the nature of the debtor's business[.]”



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       13.       The Debtor does not have any of its own employees.7 Rather, it relies on the

employees of its affiliates for all managerial, technical, professional, operational and other

administrative services.

       14.       During the first 30 days of the bankruptcy case, I expect the Debtor’s business to

do the following: 8

                 Make approximately $40,000 in revenue from operations (such amount to be
                  divided among the Debtor and the disputed reserve accounts);

                 Use approximately $88,000 in expenses (not including the chapter 11 expenses),
                  including $50,000 for capital expenditures for well workovers to restore
                  production from inactive wells.

The State Court Lawsuit9

       15.       The Amended State Lease stems from the Canadian River Mineral Boundary

Agreement (the “CRMBA”). The CRMBA is effective January 1, 2002. It was entered into by

and among the Debtor (as successor to J.M. Huber Corporation), Jaten Oil Company (“Jaten”),

Riparia, LC (“Riparia”), the State of Texas, and other mineral owners adjacent to the Canadian

River who elected to be subject to the CRMBA. The CRMBA is recorded in the Official Public

Records of Hutchinson County, Texas at Vol 1236, Page 35 et seq.

       16.       By way of background, the State of Texas is the owner of the oil, gas, and mineral

rights in the riverbed of the Canadian River. The construction of the Sanford Dam on the Canadian

River impeded the flow of the water of the Canadian River to the east of the dam. As a result, the

State of Texas and the mineral owners adjacent to the Canadian River had disputes regarding the

boundary of the Canadian River. The CRMBA resolves those disputes. The parties to the CRMBA



7
       This responds to the information requested in Local Bankruptcy Rule 1007-2(b)(1).
8      This paragraph responds to the information requested in Local Bankruptcy Rule 1007-2(b)(3).
9
       This section responds to the information requested in Local Bankruptcy Rule 1007-2(a)(7).

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agreed to the location of the riverbed of the Canadian River (the “Agreed Riverbed”) in which the

State of Texas owns oil, gas, and mineral interests. The parties to the CRMBA also agreed not to

challenge the Amended State Lease, an agreement which the TX Plaintiffs (defined below) clearly

breached with in connection with the State Court Lawsuit (defined below).

       17.     The Debtor is one of several defendants in an ongoing lawsuit filed June 23, 2015

by Signal Drilling, LLC (the “Signal Drilling”), Jaten as an involuntary plaintiff, and Riparia

(Signal Drilling, Jaten, and Riparia, collectively as the “TX Plaintiffs”) as an intervenor in the

Supreme Court of Texas, Hutchinson County (the “State Court”), Case No.41971 (the “State Court

Lawsuit”).

       18.     In the State Court Lawsuit, the TX Plaintiffs allege that the Amended State Lease

terminated in 2012 and, therefore, the Debtor is not a lessee, and is liable for trespass, conversion,

and that the TX Plaintiffs are entitled to an accounting and restitution.

       19.     The TX Plaintiffs argue that as a result of the termination of the Amended State

Lease (before it was assigned to the Debtor as lessee), certain provisions of the CRMBA were

triggered which gives the riparian owners (including the TX Plaintiffs), the oil, gas, and mineral

interests previously owned by the State of Texas in the Agreed Riverbed, and that the only

remaining interest held by the State of Texas is a 3.5% non-participating royalty interest.

Accordingly, the TX Plaintiffs argue, the State of Texas is liable for a constitutional taking,

because in 2015, the State of Texas, as lessor, entered into a renewal of the Amended State Lease

after its alleged termination.

       20.     Although several years have passed since the State Court Lawsuit was commenced,

the State Court has not heard any substantive matters concerning the interpretation of the CRMBA,

leaving the parties in limbo and the Debtor unable to maximize the value of its property. It does



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not appear that the State Court Lawsuit will progress anytime in the near future, because the State

Court Lawsuit is stayed while an appeal by the State of Texas is considered relating to whether or

not the State of Texas has governmental immunity from the claims raised in the State Court

Lawsuit.

Appointment of the Special Master and the Disputed Reserve Accounts10

       21.      As part of the State Court Lawsuit, the State Court found that ownership of the

proceeds from the sale of the oil, gas, and minerals produced (previously and in the future) from

the Agreed Riverbed by the Debtor are disputed and will be in danger of being lost or depleted

during the pendency of the State Court Lawsuit.

       22.      Accordingly, on October 6, 2017, the State Court entered an Order appointing Kent

Reis as a “Master” (the “Special Master”) pursuant to Texas Rule of Civil Procedure 171, for the

limited purpose of calculating the monthly reasonable and necessary operating costs of the oil and

gas wells located in the Agreed Riverbed which are incurred by the Debtor from and after

September 1, 2017, based upon data to be provided by the Debtor.

       23.      The State Court also ordered that during the pendency of the State Court Lawsuit:

(i) the Debtor deposit 21.5% of the “Net Proceeds”11 into an interest-bearing account to be

maintained in the Borger Branch of Amarillo National Bank (the “Royalty Account”) and that

funds may not be withdrawn without prior written order of the State Court; and (ii) the Debtor

open a second interest-bearing bank account (the “Disputed Working Interest Account”) and




10
       This information in this section responds to Local Bankruptcy Rule 1007-2(a)(8).
11
       “Net Proceeds” are defined in the Order as all of the gross proceeds from the sale of “oil, gas, condensate
       and other hydrocarbon liquids” produced from the Agreed Riverbed, less severance taxes pertaining to
       those gross proceeds.

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deposit 36.75% (being 49% of 75%) of the “Net Proceeds.” The State Court ordered the balance

to be paid to the Debtor.

       24.      Unlike the Royalty Account, the Debtor is permitted to withdraw from the Disputed

Working Interest Account 49% of the reasonable and necessary “Operating Costs”12 of the oil and

gas wells located in the Agreed Riverbed, incurred on and after September 1, 2017.

       25.      The Special Master is tasked with calculating the reasonable and necessary

Operating Costs of the oil and gas wells located in the Agreed Riverbed, incurred by the Debtor

from and after September 1, 2017, but does not timely turnover necessary funds, or accounting

information requested by the Debtor.               The Special Master capriciously determines which

expenses to reimburse.

       26.      The Special Master (and his consultants) are compensated based upon reasonable

and necessary charges, with 51% paid by the Debtor, and 49% paid by the TX Plaintiffs.

       27.      On March 28, 2018, the State Court entered an Order providing the Special Master

sole control over the Royalty Account and the Disputed Working Interest Account. Pursuant to

that Order, the State Court directed the Debtor to cause the purchasers of oil, gas, condensate, and

liquid hydrocarbons from the Agreed Riverbed to deposit 36.75% of the proceeds directly into the

Disputed Working Interest Account, and 21.5% of the proceeds directly into the Royalty Account.

The State Court, by that Order, also authorized the Special Master to determine and pay the Debtor

from the Disputed Working Interest Account, without prior order from the State Court: (i) 49% of

the “reasonable and necessary” (as determined solely by the Special Master) monthly operating



12
       “Operating Costs” are defined to include “the reasonable and necessary costs incurred by [the Debtor] to
       produce and maintain existing wells, but shall not include the cost of drilling, completing equipping a
       well.” In addition, “Operating Costs” include ad valorem taxes assessed against any producing well in the
       Agreed Riverbed, and to the extent assessed against a royalty interest, 49% of those are to be paid from the
       Royalty Account (i.e., 51% of those are to be paid by the Debtor).

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costs; and (ii) 36.75% of the monthly severance taxes; and from the Royalty Account, without

prior order from the State Court, 21.5% of the monthly severance taxes from the Royalty Account.

The Debtor’s Assets13

        28.     As noted above, the Debtor’s principal asset is its interest in the Amended State

Lease. The Debtor’s other assets include oil and gas inventory, cash deposited in its prepetition

bank accounts and other assets described in more detail on the Debtor’s Schedules of Assets and

Liabilities.

The Debtor’s Liabilities14

        29.     The Debtor’s liabilities include a secured loan to Washington Federal, an unsecured

loan to RNP, LLC and various trade credit.

        Washington Federal Secured Loan15

        30.     In July 2017, the Debtor petitioned the State Court for authority to obtain a secured

loan from Washington Federal, National Association (“Washington Federal”). On July 17, 2017,

the State Court entered an Order approving the Debtor’s request to obtain a loan from Washington

Federal, stating that such loan shall not adversely affect or attach to any interest that any of the TX

Plaintiffs may own or be entitled to, upon a final judgment, and limiting the Debtor’s use of the

loan proceeds to developing and maintaining the leases which are the subject of the State Court

Lawsuit.

        31.     Effective July 13, 2017, the Debtor entered into a credit agreement (the “Prepetition

Credit Facility”) with Washington Federal, subject to approval by the State Court, which was

obtained, for a secured revolving line of credit (the “Revolver Loan”) which matures July 13, 2020.


13
        The information in this section responds to Local Bankruptcy Rule 1007-2(a)(6).
14
        This information in this section responds to Local Bankruptcy Rule 1007-2(a)(6).
15
        This information in this section responds to Local Bankruptcy Rule 1007-2(a)(5).

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The total revolving line of credit is $5,000,000. The Debtor does not have access to the full

$5,000,000 until there is resolution of the dispute regarding the Amended State Lease. As of the

Petition Date, the Debtor has an outstanding principal balance on the Prepetition Credit Facility in

the amount of approximately $680,000.00.

       32.      Other than the Prepetition Credit Facility with Washington Federal, the Debtor does

not have any other secured creditors.

       RNP Unsecured Loan

       33.      RNP has loaned the Debtor money on an unsecured basis. As a result of the

ongoing State Court Lawsuit, the appointment of the Special Master, and the related funding

delays, the Debtor has not had access to sufficient funding from net proceeds to cover all its

operating expenses. RNP loans the Debtor funds to meet these crucial operating expenses. As

of the Petition Date, the outstanding amount owed to RNP is $242,500 plus interest.

       Trade Credit

       34.      Details of the Debtor’s largest unsecured creditors including the Debtor’s trade are

set forth on the List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders

filed in connection with this affidavit and the Debtor’s petition.16

First Day Motions

       35.      In connection with its efforts to reorganize pursuant to chapter 11 of the Bankruptcy

Code, the Debtor seeking approval of certain emergency requests contained in the following “First

Day” motions:

            Motion Pursuant to 11 U.S.C. §§ 361 and 363(c) For Order Authorizing Use of Cash
             Collateral (the “Cash Collateral Motion”);



16
       This information is provided in response to Local Bankruptcy Rule 1007-2(a)(4).

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            Motion Pursuant To 11 U.S.C. § 364 For Order Authorizing Debtor To Obtain Credit
             (the “DIP Financing Motion”); and

            Motion For (I) Entry of an Interim Order Authorizing Debtor To Use Existing Cash
             Management System and (II) Entry of a Final Order Authorizing Debtor Use Modified
             Cash Management System (“Cash Management Motion”).

Cash Collateral Motion

       36.      Washington Federal has a first-priority lien on substantially all, if not all, the

Debtor’s assets, including the Debtor’s cash and inventory. Without the use of cash, the Debtor

cannot pay essential operating expenses. Washington Federal has agreed to permit the Debtor to

continue to use its cash collateral during this chapter 11 case so long as the Debtor continues to

pay its regular monthly installments of principal and interest. Pays other fees and cost as they arise

in the ordinary course.

DIP Financing Motion

       37.      Postpetition financing is essential to the Debtor’s ability to invest in capital

expenses for workovers to increase the number of producing wells and in turn increase revenue.

It is also critical to fund the costs of the Debtor’s professionals and other costs related to the

administration of the chapter 11 case.

       38.      The proposed “DIP Lender” is RNP, the sole member of the Debtor. My wife and

I own RNP. RNP and the Debtor are represented by different counsel.

       39.      RNP has offered to make a postpetition secured loan to the Debtor up to $100,000

on an interim basis plus an additional $200,000 on a final basis plus an additional $200,000 if

requested by the Debtor and approved by the DIP Lender. The borrowed funds are to be used for

the purpose of funding costs in connection with a proposed 13-week budget (the “Budget”). These

costs include capital expenses for workovers, payment of chapter 11 professional fees and other

costs for the administration of the Debtor’s chapter 11 case.


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        40.     On information and belief, the Debtor cannot find unsecured credit to fund the

Debtor on a postpetition basis other than RNP.

        41.     The Debtor has an immediate need to access the funds provided by RNP. The

Debtor cannot maintain the value of its property during the pendency of its chapter 11 case without

access to cash as set forth in the Budget and therefore the Debtor’s estate would suffer immediate

and irreparable harm to the detriment of all creditors and other parties-in-interest without access

to funds.

        42.     Following the 13-week budget and based in part on the capital expenditures

including the 13-week budget, the Debtor should generate enough cash flows to pay its operating

costs and the costs to administer the chapter 11 cases. If there is a cash shortfall, I will likely cause

RNP to provide the Debtor additional postpetition financing.

        43.     I believe that the proposed postpetition financing will significantly increase the

Debtor’s ability to generate revenue at a profit, essential to the Debtor’s successful emergence

from chapter 11.

Cash Management Motion

        44.     The motion seeking authority to continue using the Debtor’s prepetition cash

management system on a temporary basis is critical to ensure the there are few disruptions with

the Debtor’s business as it transitions into chapter 11.

        45.     The Debtor intends to use this temporary period to close all the Debtor’s existing

bank accounts and open new accounts that include the “Debtor in Possession” designation on them.

The Debtor intends to establish a cash management system that parallels the cash management

system the Debtor had on the Petition Date.         Specifically, the Debtor intends to continue to

maintain a royalty account and a disputed working interest reserve account until this Court resolves



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